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                                                                                                                                                                              U.S. DISTRICT COURT
                                                                                                                                                                                  N.D. OF ALABAMA



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                                                                                                                                                                            District 1
                                                                                                                                                                            District 2
                                                                                                                                                                            District 3
                                                                                                                                                                            District 4
                                                                                                                                       Panama                               District 5
                                                                                                                                       City
                                                                                                                                                                            District 6
            15   30         60           90                     120                                                                                                         District 7
                                                                  Miles




                                                                                                                                          Chestnut Defense 0043
User: bpshan3501                                                                                                                    Date: Mon Jun 20 13:29:36 GMT-0500 2011
Plan; Allen Congressional Plan 4


                                                                        Population Summary Report
    District No.           Total         Deviation   Deviation (%) Total Hispanic     White     Black        American     Asian    Hawaiian or         Other   Two or more
                      Population                                                                        Indian/Alaskan            Other Pacific                      races
                                                                                                                Native                Islander
              1         682,820                 1            0.00         19,087    458,705   188,859           7,889     9,106            326        7,999          9,936
              2         682,819                 0            0.00         22,961    459,350   189,493           3,385     8,376           484        10,734         10,997
              3         682,819                 0            0.00         18,808    488,774   166,562           2,401     6,274            450        8,440          9,918
              4         682,819                 0            0.00         41,882    594,056    42,770           5,881     2,502            593       25,988         11,029
              5         682,819                 0            0.00         32,562    518,464   116,026           5,188    10,749           596        17,026         14,770
              6         682,820                 1            0.00         29,719    532,695   112,853           1,955    11,954           297        14,842          8,224
              7         682,820                 1            0.00         20,583    223,350   434,748           1,519    4,634            311        11,881          6,377

Total Population:                                                                                           4,779,736
Ideal Population:                                                                                             682,819
Mean Deviation:                                                                                                     0
Mean Percent Deviation:                                                                                          0.01
Largest Positive Deviation:                                                                                         1
Largest Negative Deviation:                                                                                         0
Overall Range in Deviation:                                                                                         1
Overall Range in Deviation Percentage:                                                                           0.00




                                                                                                                                                  Chestnut Defense 0044
User: bpshan3501                                                                                                                      Date: Mon Jun 20 13:31:05 GMT-0500 2011

Plan: Allen Congressional Plan 4

                                                                     District Statistics Report
                          Total    Deviation   Deviation (%) Total Hispanic   White (%)   Black (%)         American    Asian (%)   Hawaiian or      Other (%)   Two or more
    District No.
                     Population                                        (%)                            Indian/Alaskan                Other Pacific                   races (%)
                                                                                                           Native (%)               Islander (%)

              1         682,820           1            0.00         19,087     458,705     188,859             7,889       9,106             326         7,999         9,936

                                                                   (2.80%)    (67.18%)    (27.66%)          (1.16%)      (1,33%)        (0.05%)        (1.17%)       (1.46%)

              2         682,819           0            0.00         22,961     459,350     189,493             3,385       8,376             484        10,734        10,997

                                                                   (336%)     (67.27%)    (27.75%)          (0.50%)      (1.23%)        (0.07%)        (1.57%)       {1.61%)

              3         682,819           0            0.00         18,808     488,774     166,562             2,401       6,274             450         8,440         9,918

                                                                   {2.75%)    (71.58%)    (24.39%)          (0.35%)      (0.92%)        (0.07%)        (1.24%)       (1.45%)

              4         682,819           0            0.00         41,882     594,056      42,770             5,881       2,502             593        25,988        11,029

                                                                   (6.13%)    (87.00%)     (6.26%)          (0.86%)      (0.37%)        (0.09%)        (3.81%)       (1.62%)

               5        682,819            0           0.00         32,562     518,464     116,026             5,188      10,749             596        17,026        14,770

                                                                   (4.77%)    (75.93%)    (16.99%)           (0.76%)     (1.57%)        (0.09%)        (2.49%)       (2.16%)

              6         682,820           1            0.00         29,719     532,695     112,853             1,955      11,954             297        14,842         8,224

                                                                   (4.35%)    (78.01%)    (16.53%)           (0.29%)     (1.75%)        (0.04%)        (2.17%)       (1.20%)

               7        682,820            1           0.00         20,583     223,350     434,748             1,519       4,634             311        11,881         6,377

                                                                   (3.01%)     (32.71%)   (63.67%)           (0.22%)     (0.68%)         (0.05%)       (1.74%)       (0.93%)




                                                                                                                                                     Chestnut Defense 0045
User: bpshan3501                                                                                                                       Date: Mon Jun 20 13:30:26 GMT-0500 2011
Plan: Allen Congressional Plan 4


                                                              All Districts Population Report
District No.                                                        1

Total Population                                              682,820
Total Population 18+                                               0
Deviation                                                          1
Dev. %                                                           0.00
                                   Total Hispanic     White               Black               American    Asian   Hawaiian or Other               Other      Two or more races
                                                                                  Indian/Alaskan Native             Pacific Islander
Total                                     19,087    458,705             188,859                  7,889    9,106                 326               7,999                 9,936
Total%                                      2.80      87.18               27.68                   1.18     1.33                0,05                1.17                  1.46
To4184                                         0         0                    0                      0        0                   0                  0                      0
Total18+%                                   9,0.0      0.00                0.00                   0.00     0.00                0.00                0.00                  0.00

District No.                                                       2

Total Population                                              682,819
Total Population 18+                                               0
Deviation
Dev. %                                                           0.00
                                   Total Hispanic     White               Black               American    Asian   Hawaiian or Other              Other      Two or more races
                                                                                  Indian/Alaskan Native             Pacific Islander
Total                                     22,961    459,350             189,493                  3,385    8,376                 484             10,734                 10,997
Total%                                      3.36      67.27               27.75                   0.50     1.23                0.07               1.57                   1.61
Tota118+                                       0         0                   0                       0       0                    0                  0                      0
Totall8+%                                   0.00       0.00                0.00                   0.00    0.00                 0.00               0.00                   0.00




                                                                                                                                                  Chestnut Defense 0046
    District No.
)

    Total Population                                  682,819

    Total Population 18+                                   0

    Deviation

    Dev. %                                               0.00
                           Total Hispanic    White                Black               American     Asian   Hawaiian or Other     Other   Two or more races
                                                                          Indian/Alaskan Native              Pacific Islander

    Total                         18,808    488,774             166,582                  2,401     6,274                 450     8,440               9,918

    Total%                          2.75      71.58               24.39                   0.35      0.92                0.07      1,24                1.45

    Totall8+                           0         0                   0                       0        0                    0         0                   0
    Tote118+11r                     0.00       0.00                0.00                   0,00      0.00                0.00      0.00                0.00

    District No.                                           4

    Total Population                                  682,819

    Total Population 18+                                   0

    Deviation                                              0

    Dev. %                                               0.00
                           Total Hispanic     White               Black               American     Asian   Hawaiian or Other     Other   Two or more races
                                                                          Indian/Alaskan Native              Pacific Islander

    Total                         41,882    594,056              42,770                  5,881     2,502                 593    25,988             11,029

    Total%                          6.13      87.00                6.26                   0.86      0.37                0.09      3.81               1.62
    Iota118+                           0         0                   0                       0        0                    0        0                   0
    Totall8+%                       040        0.00                0.00                   0.00      0.00                0.00      0.00               0.00

    District No.                                            5

    Total Population                                  682,819

    Total Population 18+                                   0

    Deviation                                              0

    Day. %                                               0.00
                           Total Hispanic     White               Black               American    MIMI     Hawaiian or Other     Other   Two or more races
                                                                          Indian/Alaskan Native              Pacific Islander

    Total                         32,562    518,464             116,026                  5,186    10,749                 596    17,026             14,770
    Total%                           4.77     75.93               16.99                   0.76      1.57                0.09      2.49                2.16

    Tota118+                            0        0                    0                      0        0                    0        0                   0
    Tota118+%                        0.00      0.00                0.00                   0.00      0.00                0.00      0.00               0.00




                                                                                                                                 Chestnut Defense 0047
District No.

Total Population                                  682,820

Total Population 18+                                   0

Deviation                                              1

Dev. %                                               0.00
                       Total Hispanic    White                Black               American    Asian    Hawaiian or Other     Other   TWO or more races
                                                                      IndIan/Alaskan Native              Pacific Islander

Total                         29,719    532,695             112,853                  1,955    11,954                 297    14,642               8,224

Total%                          4.35      78.01               16.53                   0.29      1.75                0.04      2.17                1.20

Iota118+                           0         0                   0                       0        0                    0        0                   0

Toter18+1                       0.00       0.00                0.00                   0.00      0.00                0.00      0.00                0.00

District No.                                           7

Total Population                                  682,820

Total Population 18+                                   0

Deviation                                              1

Dev. %                                               0.00
                       Total Hispanic     White               Black               American     Asian   Hawaiian or Other     Other   Two or more races
                                                                      Indian/Alaskan Native              Pacific Islander

Total                         20,583    223,350             434,748                  1,519     4,634                 311    11,881              6,377

Total%                          3.01      32.71               63.67                   0.22      0.68                0.05      1.74               0.93

Totail8+                           0         0                    0                      0        0                    0        0                   0

Tota118+%                       0.00       0,00                0.00                   0.00      0.00                0.00      0.00               0.00




                                                                                                                             Chestnut Defense 0048
User: bpshan3501                                                                                                        Date: Mon Jun 20 13:33:32 GMT-0500 2011

Plan: Allen Congressional Plan 4

                                                                  Assigned District Splits
                      Total Population      Total Hispanic    White        Black        American    Asian Hawaiian or Other             Other Two or more races
                                                                                   IndianfAlaskan           Pacific Islander
                                                                                           Native


District I
                                                             156,153      17,105           1,216    1,348                89             3,631              2,723
 Baldwin County               182,265               7,992
                                                       70      5,895       2,548              33      18                  0               31                   70
  * Clarke County                  8,595
                                                      718     23,784      12,220           1,288       92                12              343                 580
  Escambia                     38,319
  County
                                                             248,647     142,992           3,681    7,561               204             3,885              6,022
  Mobile County               412,992               9,936
                               23,068                         12,718       9,614             260       67                 9                66                334
  Monroe County                                       220
                                                              11,508       4,380           1,411       20                12                43                207
  Washington                   17,581                 151
  County

                                                   19,087    458,705     188,859           7,889    9,106               326             7,999              9,936
District 1 Total              682,820
                                                             67.18%      27.66%            1.16%    1.33%             0.05%            1.17%              1.46%
                                   100%              2.8%


District 2
                                   54,571           1,310     42,655       9,643             232      474                32               466                669
  Autauga County
                                                              13,180      12,875             114      107                29               894                258
  Barbour County                   27,457           1,387
                                   10,914             777      2,507       7,666               23      20                43               569                  86
  Bullock County
                                                              11,399       9,095              60      177                  7               48                161
  Butler County                    20,947             191
                                                              37,330       8,359             645      644               100             1,623              1247
  Coffee County                    49,948           3,180
                                                               6,788       6,149               44      17                  1               97                 132
  Conecuh County                   13,228             161
                                   37,765             483     32,022       4,716             214      155                 1               135                522
  Covington
  County
                                                      204     10,097       3,254               57     169                  8               99                 202
  Crenshaw                         13,906
  County
                                   50,251           2,821     37,236       9,679              371     534                44               882              1,505
  Date County




                                                                                                                                                  * indicates split




                                                                                                                                       Chestnut Defense 0049
•
                          Total Population   Total Hispanic     White     Black       American     Asian Hawaiian or Other     Other Two or more races
                                                                                  Indian/Alaskan           Pacific islander
                                                                                         Native

      Elmore County                79,303            2,129     60,455    15,900             285      518                63      938               1,144

      Geneva County                26,790              920     23,127     2,539             224       67                 8      409                 416

      Henry County                 17,302              389    11,865      4,942              57      54                  2      206                 176
      Houston County             101,547             2,995     71,053    26,176             446      820                49     1,244              1,759

      * Montgomery               145,991             5,284     80,292    56,446             421    3,946                73     2,783              2,030
      County
      Pike County                  32,899              730     19,144    12,054             192      654                24      341                 490

    District 2 Total             682,819            22,961    459,350   189,493           3,385    8,376               484    10,734            10,997
                                    100%            3.36%     67.27%    27.75%             0.5%    1.23%            0.07%     1.57%              1.61%


    District 3
      Calhoun County             118,572             3,893     88,840    24,382             540      845                96     1,894             1,975
      Chambers                     34,215              536     20,112    13,257              69      168                10      214                 385
      County
      Cherokee                     25,989              320     24,081     1,208             135       54                 1      123                 387
      County
      * Chilton County             20,315            1,374     18,418      919               76      69                 33      567                 233

      Clay County                  13,932              399     11,380     2,066              55      24                  0      172                 235

      Cleburne County              14.972              307     14,079      498               51       23                10      151                 160

      Coosa County                 11,539              230      7,648     3,582              40       16                15      135                 103

      Lee County                  140,247            4,571    100,006    31,901             445    3,658               105     1,873              2,259

      Macon County                 21,452              232      3,319    17,729              29       76                 2       69                 228
      Randolph                     22,913              649     17,532     4,607              84       55                 5      369                 261
      County
      Russell County               52,947            1.946     28,449    22,135             219      236               113      691              1,104

      * St Clair County            81,819            1,638     72,084     7,140             273      514                46      682              1,080

      Talladega                    82,291            1,671     53,739    26,055             264      339                 6      787              1,101
      County




                                                                                                                                        * indicates split




                                                                                                                              Chestnut Defense 0050
                      Total Population   Total Hispanic     White     Black       American     Asian Hawaiian or Other      Other Two or more races
                                                                              Indian/Alaskan            Pacific Islander
                                                                                     Native
  Tallapoosa                   41,616            1,042     29,087    11,083             121      197                  8      713                  407
  County

District 3 Total             682,819            18,808    488,774   166,562           2,401    6274                450      8,440               9,918

                                100%            2.75%     71.58%    24.39%           0.35%     0.92%             0.07%     1.24%               1.45%


District 4
  Blount County                57,322            4,626     53,068      761              307      117                 38     2,347                 684

  Colbert County               54,428            1,093     43,789     8,768             267      229                 20      510                  845

  Cullman County               80,406            3,454     76.133      856              408      343                 18     1,759                 889

  De Kalb County               71,109            9,690     60,087     1,078             969      203               147     7,051                1,574

  Etowah County              104,430             3,447     83,823    15,796             448      672               171      1,975               1,545

  Fayette County               17,241              204     14,910     1,969              52       37                  0      102                  171

  Franklin County              31,704            4,710     26,320     1,228             215       63                 10     3,338                 530

  'Jackson                        200               10       186         2                9       1                   0        1                    1
  County

  Lamar County                 14,564              180     12,626     1,643              24       4                   2       82                  183

  Lawrence                     34,339              574     26,647     3,938           1,953       42                  6      275               1,478
  County
  Marion County                30,776              632     28,791     1,184             101       54                 14      291                  341

  Marshall County              93,019           11,238     81,464     1,494             706      478               103     7,210                1,564

  ' St Clair County             1,774               78      1,657       10                8       4                   0       52                   43

  Walker County                67,023            1,307     61,146     3,928             251      195                 36      639                  828

  Winston County               24,484              639     23,409      115              163       60                 28      356                  353

District 4 Total             682,819            41,882    594,056    42,770           5,881    2,502               593     25,988             11,029
                                100%            6.13%        87%     6.26%           0.86%     0.37%             0.09%     3.81%               1.62%


District 5
  ' Jackson                    53,027            1,329     48,162     1,779             710      184                 48      767               1,377
  County




                                                                                                                                      * indicates split




                                                                                                                           Chestnut Defense 0051
1




                         Total Population   Total Hispanic     White     Black        American      Asian Hawaiian or Other      Other Two or more races
                                                                                  Indian/Alaskan             Pacific [slander
                                                                                         Native
      Lauderdale                  92,709            2,082     80,112     9,257              338      685                  34      977               1,306
      County
      Limestone                   82,782            4,591     66,506    10,429              547      924                  42     2,866              1,468
      County
      Madison County            334,811            15,404    228,280    80,376            2,551     8,265               365      6,719              8,255
      Morgan County             119,490             9,156     95,404    14,185            1,042      691                107      5,697              2,364

    District 5 Total            682,819            32,562    518,464   116,026            5,188    10,749               596     17,026             14,770
                                   100%            4.77%     75.93%    16.99%            0.76%     1.57%              0.09%     2.49%              2.16%


    District 6
      *Jefferson                293,079            12,203    241,748    34,510              876     5,922               106      6,476              3,441
      County
      Shelby County              195,085           11,567    161,943    20,732              553     3,726                 74     5,373              2,684
      Tuscaloosa                 194,656            5,949    129,004    57,611              526     2,306               117      2,993              2,099
      County

    District 6 Total            682,820            29,719    532,695   112,853            1,955    11,954               297     14,842              8,224

                                   100%            4.35%     78.01%    16.53%            0.29%     1.75%              0.04%     2.17%               1.2%


    District 7
      Bibb County                 22,915              406     17,381     5,047               64       22                  13      185                 203
      • Chilton County            23,328            2,046     18,295     3,311               79       61                  22     1,287                273
      Choctaw County              13,859               73      7,731     6,012               18       12                   0       28                  58
       Clarke County              17,238              201      8,175     8,788               70       59                   4       36                 106
      Dallas County               43,820              309     12,769    30,423               85      149                  11       84                 299
      Greene County                9,045               69      1,575     7,370               17       15                   0       25                  43
      Hale County                 15,760              140      6,266     9,301               25       35                   1       44                  88
      * Jefferson                365,387           13,285    107,418   242,01.5             864     3,236               138      7,882              3,834
      County
      Lowndes County              11,299               87      2,859     8,310               25       14                   0       31                  60




                                                                                                                                          * indicates split




                                                                                                                                Chestnut Defense 0052
                   Total Population   Total Hispanic     White     Black        American    Asian Hawaiian or Other     Other Two or more races
                                                                           Indian/Alaskan           Pacific Islander
                                                                                  Native

  Marengo County            21,027              352      9,751    10,872              34       53                13      140                 164
  ' Montgomery              83,372            3,030     10,364    69,031             168      875                98     1,960                876
  County
  Perry County              10,59i              114      3,204     7276               17       30                 5       16                  43
  Pickens County            19,746              313     11,110     8,211              28       36                 1      128                 232
  Sumter County             13,763               86      3,326    10,316              11       33                 4       26                  47
  Wilcox County             11,670               72      3,126     8,465              14        4                 1        9                  51

District 7 Total          682,820            20,583    223,350   434,748           1,519    4,634               311    11,881              6,377
                             100%            3.01%     32.71%    63.67%           0.22%     0,68%            0.05%     1.74%              0.93%




                                                                                                                                 * indicates split




                                                                                                                       Chestnut Defense 0053
User bpshan3501                                                                                                                  Date: Mon Jun 20 14:03:28 GMT-0500 2011

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                                                                         VAP Summary Report
        District No.               Total   Total Hispaniola    Whitel8        Black18          American    Asian18 Hawaiian or Other          Other18 All individuals over
                                                                                        Indian18/Alaskan           Pacific Islander18                 18 who chose two
                                                                                                Native18                                                    or more races

                  1           682,820                    0     359,599        133,191             5,702      6,782               243             5,383              5,346

                  2           682,819                    0     362,008        137,575             2,588      6,336               358             7,038              5,572

                  3           682,819                    0     385,373        122,343             1,888      4,867               327             5,580              5,162

                  4           682,819                    0     462,282         31,772             4,271      1,874               354           15,304               6,204

                  5           682,819                    0     406,038         85,841             3,885      8,167               400            10,698              7,883

                  6           682,820                    0     417,289         80,438             1,502      8,929               206             9,737              4,403

                  7           682,820                    0     184,324        315,618             1,200      3,726               237             7,731              3,703

          TOTALS            4,779,736                    0    2,576,913       906,778            21,036     40,681             2,125           61,471              38,273




                                                                                                                                                Chestnut Defense 0054
User bpshan3501                                                                                                        Date: Mon Jun 20 13:32:18 GMT-0500 2011
Plan: Allen Congressional Plan 4

                                                               District Compactness Report
              District   Polygon Area (sq.    Perimeter (ml)       Reock   Area/Convex Hull   Grofman   Schwartzberg         Poisby Popper              Holes
                                       ml)
                    1               9486.61     1382371.92           0.4              0.71       8.82           2.49                  0.16                  0
                    2              14375.34     1345389.84          0.38              0.75       6.97           1.97                  0.26                  0
                    3              12200.06     1285136.45          0.29              0.75       7.23           2.04                  0.24                  0
                    4              12904,53     1275464.62          0.33               0.7       6.98          1.97                   0.26                  0
                    5                 5727       822102.11           0.2              0.78       6.75            1.9                  0.28                  0
                    6               4240.95      901404.21          0.36              0.73        8.6          2.43                   0.17                  0
                    7              15440.37     1830205.36          0.39              0.65       9.15          2.58                   0.15                  0




                                                                                                                                     Chestnut Defense 0055
User: bpshan3501                                                                                                              Date: Mon Jun 20 13:31:53 GMT-0500 2011
Plan: Allen Congressional Plan 4

                                                            Unassigned Geographies Report
             FIPS     Total Population Total Hispanic (%)   White (%)   Black (%)         American    ASian (%) Hawaiian or Other         Other (%) Two or more races
                                                                                    Indian/Alaskan                Pacific Islander                                (%)
                                                                                         Native (%)                            t%)




                                                                                                                                            Chestnut Defense 0056
